Case: 5:22-cv-00249-DCR Doc #: 1-1 Filed: 09/22/22 Page: 1 of 14 - Page ID#: 7




              EXHIBIT B
                   Case: 5:22-cv-00249-DCR Doc #: 1-1 Filed: 09/22/22 Page: 2 of 14 - Page ID#: 8

            CORPORATE CREATIONS®
                Registered Agent· Director· Incorporation
Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                   84 LUMBER COMPANY, LIMITED PARTNERSHIP                                                                                            09/13/2022
                   Robert Bosilovic
                   84 Lumber Company
                   1019 Route 519, Building # 6
                   Eighty Four PA 15330



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                           Item: 2022-450
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             84 LUMBER COMPANY, LIMITED PARTNERSHIP

 2.                          Title of Action:            Nathan Samons vs. 84 Lumber Company

 3.                Document(s) Served:                   Civil Summons
                                                         Civil Case Cover Sheet
                                                         Verified Complaint

 4.                           Court/Agency:              Fayette Circuit Court

 5.                            State Served:             Kentucky

 6.                           Case Number:               22-CI-02361

 7.                               Case Type:             Wrongful Termination

 8.                    Method of Service:                Hand Delivered

 9.                          Date Received:              Monday 09/12/2022

 10.                          Date to Client:            Tuesday 09/13/2022

 11.         # Days When Answer Due:                     20                                     CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Sunday 10/02/2022                      Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             Melissa Thompson Richardson
               (Name, City, State, and Phone Number)
                                                         Lexington, KY
                                                         859-219-9090

 13.              Shipped To Client By:                  Email Only with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             181

 16.                                      Notes:         None

NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com
            Case: 5:22-cv-00249-DCR Doc #: 1-1 Filed: 09/22/22 Page: 3 of 14 - Page ID#: 9
 AOC-E-105         Sum Code: Cl
 Rev. 9-14                                                                              Case#:    22-Cl-02361

 Commonwealth of Kentucky
                                                                                        Court:    CIRCUIT
 Court of Justice Courts.ky.gov                                                         County:   FAYETTE
 CR 4.02; Cr Official Fonm 1                      CIVIL SUMMONS


P/antiff, SAMONS, NATHAN VS. 84 LUMBER COMPANY, Defendant



    TO: CORPORATE CREATIONS NETWORK, INC.
            101 NORTH SEVENTH STREET
            LOUISVILLE, KY 40202
Memo: Related party is 84 LUMBER COMPANY


The Commonwealth of Kentucky to Defendant:
84 LUMBER COMPANY

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as showr, on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may li>e
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown o~ the
document delivered to you with this Summons.                                                                                I




                                                          VIM~-,-
                                                          Fayette Circuit Clerk
                                                          Date: 9/7/2022




                                                  Proof of Service
    This Summons was:

D   Served by delivering a true copy and the Complaint (or other initiating document)

      To:

D Not Served because:
                          --------------------------------+
    Date: _ _ _ _ _ _ _ , 20 _ __
                                                                                             Served By


                                                                                                  Title

Summons ID: @00001120861 .
CIRCUIT: 22-Cl-02361 Sheriff Service



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SAMONS. NATHAN VS. 84 LUMBER COMPANY

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Rev. 12-20                                                                                                                     ---------
Page 1 of 1                                                                                                   Court Circuit
Commonwealth of Kentucky                                                                                      County _F_a_y_ett_e_ _ _ _ _ __
Court pf Justic,e www.kycourts.gov
                                                  CIVIL CASE COVER SHEET                                       Division Civil
                                                                                                                             ----------
 Nathan Samons                                                                                                       PLAINTIFF/PETITIONER

VS.
 84 Lumber Company                                                                                                   DEFENDANTIRESPONDENT

                              □ Check here if YOU DO NOT HAVE AN ATTORNEY and are REPRESENTING YOURSELF
                                   (a Self-Represented {Pro Se] Litigant)

t:1111111:i 21 lh!! ~11111;   Place an "X" to the left of the ~ case category that most accurately describes your                                    •

                              PRIMARY CASE. If you are making more than one type of claim, check the one that you
                              consider most important.                                                                                               •
 DOMESTIC RELATIONS                                     TORT (Injury)                                          CONSUMER
Drnssolution/Divorce with Children (DISSO)              □Automobile (AUTO)                                     Oseller Consumer Goods (DEBTG)
 Drnssolution/Divorce without Children (DISSO)          Dintentional (INTENT)                                  Oseller Consumer Services
                                                                                                                 (DEBTS)
 □ Paternity (PA)                                       □ Malpractice-Medical (MDML)
                                                                                                               0Buyer Consumer Goods
 □ custody (GUSTO)                                      □ Malpractice-Other (MLOTH)                              (BUYERG)
OuRESNUIFSA (UR)                                                                                               0Buyer Consumer Services
 □ Visitation/Parenting Time (VISIT)                    □ Premises Liability (PREM)                              (BUYERS)
 Ovoluntary Termination of Parental Rights              □ Product Liability (PROD)                             □credit Card Debt (CREDIT)
   (TPR)                                                                                                       □Fraud (FRAUD)
                                                        □ Property Damage (PD)
D1nvoluntary Termination of Parental Rights                                                                    Dother: (COOTH)
  (TPR)                                                 Os1ander/Libel/Defamation
                                                          (SLAND)
 □Adoption (ADPT)
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Dother: (DFOTH)
                                                                                                               APPEALS
                                                                                                               □ Appeal from Administrative Agency   I

 PROBATE/ ESTATE                                                                                                   (AB)
                                                        REAL PROPERTY
0   Guardianship-Adult (GCADLT)                                                                                □ Appeal from District Court (XI)
                                                        □ Property Rights (PR)
0Guardianship-Juvenile (GCJUV)                                                                                 Dother: (0TH)
                                                        Ocondemnation (DOMAIN)
D Guardianship-Conservatorship (CONSVA)                 □ Forcible Detainer (Eviction) (FD)
□ Probate-Testate (with a will) (PB)                    □ Forcible Entry (FENTRY)
□ Probate-Intestate (without a will) (PB)               0Foreclosure (FCL)                                     MISC CIVIL
D Petition to Dispense with Administration (PB)         Oother: (COOTH)                                        □ Habeas Corpus (HABEAS)
D Name Change (NC)                                                                                             D Non-Domestic Relations
Oother: (PBOTH)                                                                                                     Restraining Order (IP)
                                                                                                               Drax (TAX)
                                                        EMPLOYMENT
 BUSINESS/ COMMERCIAL                                                                                          □ writs (WRITS)
                                                        ~ Employment-Discrimination
D   Business Tort (BCPI)                                   (DSCR)                                              0    Other: (0TH)

D Statutory Action (BCSA)                               □ Employment-Other (DISPU)
D Business Contract Dispute (BCCO)
0   Other: (BCOTH)
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                                  COMMONWEALTH OF KENTUCKY
                                     FAYETTE CIRCUIT COURT
                                          DIVISION
                                    CIVIL ACTION NO. 22-Ci-
                                         Electronically Filed

   NATHAN SAMONS                                                                                 PLAINTIFF

   vs.                                 VERIFIED COMPLAINT

   84 LUMBER COMP ANY

          Serve:       CORPORATE CREATIONS NETWORK INC.
                       REGISTERED AGENT: UNITED AGENT GROUP, INC.
                       IOI NORTH SEVENTH STREET
                       LOUISVILLE, KY 40202                                                DEFENDANT

                                           *** *** *** ***
          Comes the Plaintiff, Nathan Samons, by and through counsel, and for his complaint and

   cause of action against the Defendant, 84 Lumber Company, states as follows:

                                                PARTIES

           I.      Plaintiff Nathan Samons is, and at all times relevant herein was, a resident of

   Madison County, Kentucky.

          2.       Defendant 84 Lumber Company is, and at all times relevant herein was, a foreign

   corporation with its principal place of business in Eighty Four, Pennsylvania 15330, with its

   registered agent for service being designated as Corporate Creations Network, Inc., 10 I North

   Seventh Street, Louisville, Kentucky 42539. At all times relevant herein, this Defendant was an

   employer for purposes of KRS Chapter 344 operating the store involved in this Complaint in

   Fayette County, Kentucky.

                                    JURISDICTION AND VENUE

          3.       This Court is a court of general jurisdiction and, as such, has jurisdiction over all

   claims asserted herein.



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          4.      The facts and circumstances giving rise to Plaintiff's Complaint occurred in Fayette

   County, Kentucky, and, therefore, this Court is the appropriate venue for this matter

                                    FACTUAL ALLEGATIONS

          5.      Nathan Samons began working for 84 Lumber Company in 2014, and, during his

   tenure with 84 Lumber, was promoted to Co-Manager of the Lexington Store.

          6.      On August 3, 2021, Nathan Samons received an email from Deja Glemba, the

   assistant of 84 Lumber's president, Maggie Hardy-Knox. The letter informed him it was Maggie

   Hardy-Knox's goal to vaccinate all employees by October 31, 2021.

          7.      The email included an attachment outlining 84 Lumber's Vaccine Policy Details.

   84 Lumber would be "asking" all employees to be vaccinated against COVID-19 by October 31,

   2021, unless an employee was granted an exemption as a reasonable accommodation or as

   otherwise provided by law. Associates who did not comply with this request would be required to

   wear masks and/or face shields in the workplace and comply with social distancing protocols.

   Employees were directed to submit a completed request for an accommodation form to the Human

   Resources Department. Accommodations would be granted where they would not cause 84

   Lumber undue hardship or pose a threat to the safety of others.

          8.      Nathan Samons received a follow-up email on August 3, 2021, from Deja Glemba

   directing employees to send Heather Kovacs a doctor's note or letter from the employee's religious

   leader explaining why the employee should be given an exemption.

          9.      On September 15, 2021, Nathan Samons received an email from his Area Manager,

   Robert Anderson, informing him that 84 Lumber's Vaccine Policy had changed such that 84

   Lumber would require all THQ Associates and all Divisional Vice Presidents, Area Managers,

   Store Managers, Store Co-Managers, Components Area Managers, Components General



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   Managers, Divisional Install Managers, Area Install Managers, Regional Install Managers and

   Nati<1nal Sales ("Covered Associates") to receive a COVID-19 vaccine by October 31, 2021,

   unless a medical exemption was granted as a reasonable accommodation or as provided by federal,

   state, or local law.

           10.     The Updated Vaccine Policy did not apply to all employees, such as local

   installation managers, manager trainees, coordinators, salesmen, yard associates, or dispatchers.

           11.     Covered Associates who failed to comply with the requirements would be subject

   to discipline, including termination, "subject to reasonable accommodation[ s] for medical

   exemptions and other requirements of applicable federal, state and local law."

           12.     According to the Updated Vaccine Policy, employees were required to provide a

   description of the accommodation or medical exemption requested and the reason for the

   accommodation or medical exemption. Moreover, the 84 Lumber Handbook required "all

   associates" to be vaccinated but, through the Updated Vaccine Policy, would only penalize

   "Covered Associates."

           13.     On September 21, 2021, Nathan Samons sent a religious exemption request to

   Human Resources. He stated that Pfizer, Modema, and Johnson & Johnson all used fetal cell lines

   in their development, which were descended from tissues taken from elective abortions. He made

   clear he has a deeply held religious belief that abortion is sin as it is the murder of an unborn child,

   citing various scriptures from the Bible in support.

           14.     Nathan Samons also has had COVID-19 and was tasked with managing two stores

   while the fully vaccinated managers were out with COVID-19. From August 30, 2021, to

   September 4, 2021, he co-managed the Pioneer Village store with another co-manager from a

   different store. During this time, Robert Anderson instructed him to lie to Human Resources about



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   the regular store manager, Joe Bartlett, and the co-manager and manager trainee being out with

   COVfD-19. Nathan Samons did not lie to Human Resources despite being instructed to do so. He

   also managed his home store in Lexington for the week of September 5, 2021, because his manager

   was out with COVID-19. With all this, Nathan Samons never got sick, and he believed (and is

   supported by numerous scientific studies) his natural immunity to be superior to any artificial

   immunity from a vaccine.

           15.    Nathan Samons' request was denied on September 27, 2021.

           16.    In early October 2021, Nathan Samons had a discussion with Robert Anderson,

   who indicated the exemption request was denied because there was no letter from a pastor.

          17.     On or around October 5, 2021, Nathan Samons resubmitted his request, including

   a letter from Dr. Brent Shelton, a pastor at East End Church of Christ in Lexington, Kentucky. Dr.

   Shelton stated he recognized Nathan Samons' exemption request to be Biblically sound and

   explained he had the same sincerely held religious belief about the COVID- I 9 vaccines.

          18.     On October 8, 2021, Nathan Samons was informed via phone call with Heather

   Kovacs, Human Resources Manager, that his request was not granted, that it created undue

   hardship for the company (despite the fact that she could not say what the alleged "undue hardship"

   was), that other religious exemptions had been granted, and that he would be terminated on

   November 1, 2021, ifhe did not comply.

          19.     Later in the day on October 8, 2021, Nathan Samons spoke with Angela Seaborn,

   Human Resources, who informed him that his religious exemption request was not accepted

   because it would present undue hardship to the company. Again, there was no explanation of the

   alleged "undue hardship."




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              20.    Angela Seaborn informed Nathan Samons that his denial was based on several

    factors: First, the information Dr. Brent Shelton provided in his letter to 84 Lumber concerning

    his faith-based objections to the COVID-19 vaccine; and second, based on whether he was against

   the COVID-19 vaccine specifically or all vaccines due to his faith. Further, Angela Seaborn

   informed Nathan Samons 84 Lumber had granted some religious exemptions.

              21.   On October 12, 2021, Nathan Samons and other Co-Managers received an email

   from Frank Cicero inferring they did not understand the implications of 84 Lumber's Vaccine

   Policy and would be terminated by the end of October if they were not vaccinated.

              22.   Later on October 12, 2021, Nathan Samons sent Angela Seaborn an email

   indicating he believed he was being discriminated against based upon his sincerely held religious

   beliefs.

              23.   On October 13, 2021, Nathan Samons was called by Robert Anderson, who

   informed him that 84 Lumber was not accepting any religious exemptions, which contradicted

   what Angela Seaborn and Heather Kovacs had both stated. Moreover, Robert Anderson informed

   him the reason for this blanket denial was that Frank Cicero knew if he granted one religious

   exemption, he would have to grant them all.

                              COUNT I- WRONGFUL TERMINATION

              23.   Plaintiff adopts and reiterates the foregoing paragraphs as though set forth in full

   herein.

              24.   On November I, 2021, Nathan Samons was wrongfully terminated by 84 Lumber

   after he submitted a request for religious exemption that was declined for no rational reason other

   than to attempt to force Mr. Samons to violate his sincerely held religious beliefs and/or infringe

   on his right to freedom of religion. No reasonable consideration was given to his request.



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             25.   After Nathan Samons declined to take the COVID-19 vaccination due to his bona

   fide belief that doing so would violate his sincerely held religious beliefs, he was wrongly

   terminated.

             26.   Nathan Samons was informed that his refusal to receive a vaccine would present an

   undue hardship, without any explanation what the hardship was, even though he willing to

   continue wearing a mask at work and even though other employees who were not vaccinated

   continued to work inside the store without wearing a mask.

             27.   In all actuality, accommodating Nathan Samons' sincerely held religious belief by

   granting his religious exemption request would not have resulted in an undue hardship on 84

   Lumber's business.

             28.   Nathan Samons was damaged as a result of84 Lumber's conduct.

                                COUNT II - CIVIL RIGHTS VIOLATION

             28.   Plaintiff adopts and reiterates the foregoing paragraphs as though set forth in full

   herein.

             29.   Title VII of the Civil Rights Act of 1964 makes it unlawful to discriminate against

   someone on the basis of race, color, national origin, sex, or religion. Nathan Samons refused to

   receive a vaccine due to his sincerely and deeply held religious beliefs, which stem from the use

   of aborted fetus cells used in the production of COVID-19 vaccines. As a result, 84 Lumber

   Company discriminated against Nathan Samons on the basis of his religion.

             30.   Nathan Samons was damaged as a result of84 Lumber's conduct.

                                    COUNT III - DISCRIMINATION

             31.   Plaintiff adopts and reiterates the foregoing paragraphs as though set forth in full

   herein.



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             32.   The discrimination by 84 Lumber-by treating him differently than other

   employees and by wrongfully denying his request for a religious exemption--caused injury and

   damages to Mr. Samons.

             33.   Nathan Samons was damaged as a result of84 Lumber's conduct.

                                      COUNT IV - NEGLIGENCE

             34.   Plaintiff adopts and reiterates the foregoing paragraphs as though set forth in full

   herein.

             35.   84 Lumber negligently handled Nathan Samons' request for a religious exemption

   despite voluntarily offering the ability to obtain a religious exemption to its employees. At the

   point in which 84 Lumber offered these exemptions, it was obligated to fairly view the request and

   resolve it in a way that did not require Nathan Samons to violate his sincerely held religious beliefs.

   84 Lumber, however, did not meaningfully consider Nathan Samons' request.

             36.   Nathan Samons was damaged as a result of84 Lumber's conduct.

                               COUNT IV - INJURIES AND DAMAGES

             37.   Plaintiff adopts and reiterates the foregoing paragraphs as though set forth in full

   herein.

             38.   As a direct result of 84 Lumber's conduct, Nathan Samons was insured and has

   suffered damages. As a result, 84 Lumber is liable to compensate him for the following items of

   damages:

                   a.       Lost wages;

                   b.       Lost benefits;

                   c.       Mental and emotional pain and suffering;

                   d.      Punitive damages;



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                e.      Reasonable attorneys fees;

                f.      Pre- and Post-Judgment interest; and

                g.      Any and all other relief to which he may be entitled.

                                     PRAYER FOR RELIEF


        WHEREFORE, Plaintiff requests that the Court enter a Judgment consistent with his

 request for injuries and damages as noted herein.

                                         VERIFICATION

        I hereby certify that I have read the foregoing Verified Complaint and to the best of my

 knowledge, information, and belief, the allegations contained therein are true and correct.

                                                                                NATHAN SAMONS




 STATE OF KENTUCKY                     )
                                       (SCT.
 COUNTY OF F<i.'jll-tk                 )


        Subscribed and sworn to before me by     Ni:il-i-¼I'\   $:1,wtoVlS   on this the J:§__ day of

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                                                      NOTARY PUBLIC, STATE-AT-LARGE, KY                     ~

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                                                         Respectfully submitted,

                                                         WALTERS RICHARDSON, PLLC

                                                         Isl Melissa Thompson Richardson

                                                         Melissa Thompson Richardson
                                                         Thomas Wright
                                                         771 Corporate Drive, Suite 900
                                                         Lexington, Kentucky 40503
                                                         Telephone:    (859) 219-9090
                                                         Facsimile:    (859) 219-9292
                                                         Email:        Melissa@WaltersRichardson.com
                                                                       TWright@WaltersRichardson.com
                                                         COUNSEL FOR PLAINTIFF.
                                                         NATHAN SAMONS


                                                 CERTIFICATE OF SERVICE

               This is to certify that the foregoing has been served on this the I 8th day of August, 2022 by

   mailing and/or emailing a true and accurate copy to the following:

    84 Lumber Company
    SERVE: Corporate Creations Network, Inc.
    IO I North Seventh Street
    Louisville, KY 40202
    Defendant


                                                         Isl Melissa Thompson Richardson

                                                         COUNSEL FOR PLAINTIFF
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